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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION




Deborah L. Rice,

       Plaintiff,

-V-                                              Case No. 2:04-cv-0951
                                                 JUDGE SMITH
                                                 Magistrate Judge Kemp

Great Seneca Financial Corp., et al.,

       Defendants.




                                        ORDER

       In light of the decision of the Chief Judge of this District in

a similar case denying a motion to consolidate, the Court DENIES

plaintiff’s motion to consolidate cases (Doc. 9).

       After due consideration, the Court finds that plaintiff has

not violated the requirements of Fed. R. Civ. P. 11, and the

Court therefore DENIES defendants’ motion for sanctions (Doc.

11).

       The Court takes judicial notice that two interlocutory

appeals are currently pending before the Sixth Circuit Court of

Appeals, the resolution of which will likely determine the

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outcome of defendants’ motion to dismiss (Doc. 4). Kelly et al v.

Great Seneca Financial Corp., Case No. 05-3830; Delwander v. Platinum Financial Serv.

Corp., Case No. 05-3318. The Court sua sponte STAYS this action during the

pendency of the appeals. Counsel shall notify the Court upon

the issuance of any final decision in these appeals.

       The Court DENIES defendants’ motion to dismiss (Doc. 4)

WITHOUT PREJUDICE TO REFILING after the resolution of the subject

appeals. The memorandum in support of any refiled motion to

dismiss shall not exceed twenty (20) double-spaced typed pages

in length.

       The Clerk shall remove Doc. 4, Doc. 9 and Doc. 11 from

the Court’s pending CJRA motions list.

       The Clerk shall ADMINISTRATIVELY CLOSE this case during the

pendency of the stay.


              IT IS SO ORDERED.



                                          /s/ George C. Smith
                                          GEORGE C. SMITH, JUDGE
                                          UNITED STATES DISTRICT COURT




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